                  UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:20-cv-216

UNITED STATES OF AMERICA,               )
                                        )
           Plaintiff,                   )
                                        )
v.                                      )                 ORDER
                                        )
APPROXIMATELY $7,424.25 IN U.S. )
CURRENCY seized from Carvenus Cruz )
Wilcoxson on or about March 3, 2020, in )
Haywood County, North Carolina,         )
                                        )
           Defendant.                   )


      This matter is before the Court on the Government’s Motion for Default

Judgment of Forfeiture.    ECF No. 6.   Pursuant to Fed. R. Civ. P. 55(b)(2), the

Government requests that the Court enter a Default Judgment of Forfeiture with

respect to the $7,424.25 in United States Currency (“the Defendant Currency”)

identified in the Complaint.

                          FACTUAL BACKGROUND

      Where, as here, an entry of default occurs, the defaulted party is deemed to

have admitted all well-pleaded allegations of fact in the complaint.   See Ryan v.

Homecomings Fin. Network, 253 F.3d 778, 780 (4th Cir. 2011); see also

Fed. R. Civ. P. 8(b)(6) (“An allegation—other than one relating to the amount of
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damages—is admitted if a responsive pleading is required and the allegation is not

denied”). Thus, the factual allegations in the Government’s Complaint, ECF No. 1,

are deemed admitted as true.    The following is a recitation of the relevant, admitted

facts:

         In February 2020, the Asheville Police Department’s Drug Suppression Unit

(“APD-DSU”) began a drug investigation at 296 Livingston Street, Apartment D,

Asheville, NC 28801, the residence of a known drug dealer named

Carvenus Cruz Wilcoxson, also known as “Gino.”                    ECF No. 1 ¶ 7.

Mr. Wilcoxson had outstanding arrest warrants in Indiana for possession of a firearm

by a convicted felon and for a drug offense.    Id. ¶ 8.

         On February 29, 2020, APD Detective Beddow contacted Detective Miller

with the New Albany Police Department in Indiana, who was familiar with

Mr. Wilcoxson.      Id. ¶ 9.   Detective Miller explained that Mr. Wilcoxson had

several felony drug offenses in their jurisdiction.   Id. ¶ 10.   Detective Miller also

advised Detective Beddow to exercise caution when confronting Mr. Wilcoxson

because he is known to carry several firearms and is a flight risk. Id.

         While conducting surveillance at the residence, APD Detective Brad Beddow

observed a white Cadillac Deville with temporary Kentucky license plates parked in

front of apartment 296 Livingston Street, Apartment D, Asheville, NC 28801.         Id.

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¶ 11.     On March 3, 2020, APD detectives observed Mr. Wilcoxson leave his

residence in the Cadillac Deville and travel onto I-40 west, heading towards

Tennessee.     Id.

        As APD detectives followed the Cadillac into Haywood County, Detective

Beddow enlisted assistance from Haywood County Sheriff’s Office’s Criminal

Suppression Unit (“HCSO-CSU”). Id. ¶ 12.         Deputy DeWeese with HCSO-CSU

located Mr. Wilcoxson’s vehicle near exit 31 on I-40.      Id. ¶ 13.    He waited on

back-up before attempting to stop the vehicle.       Id.   Several HCSO deputies

arrived to assist Deputy DeWeese.    Id. ¶ 14.   Deputy DeWeese activated his blue

lights and attempted to stop Mr. Wilcoxson. Id.

        Mr. Wilcoxson initially appeared to slow down and pull over, but after

approaching exit 27 on I-40, he accelerated to over 100 mph, near mile marker 25.

Id. ¶ 15.   North Carolina State Highway Patrol Trooper Holcombe was situated at

mile marker 24, and he deployed spike strips (a law enforcement tool used to impede

or stop the movement of a vehicle by puncturing the tires) on the roadway as

Mr. Wilcoxson approached.     Id. ¶ 16.   Mr. Wilcoxson unsuccessfully attempted

to avoid the spike strips, and his front and rear left tires deflated.     Id. ¶ 17.

However, his vehicle continued to travel at a high rate of speed. Id.




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        Mr. Wilcoxson finally came to a stop when his tires came apart near mile

marker 22 ½.        Id. ¶ 18.    Mr. Wilcoxson pulled over and opened the driver’s side

door.    Id.     Deputy DeWeese gave Mr. Wilcoxson verbal commands to exit the

vehicle with his hands up and get on the ground.                  Id. ¶ 19.   Mr. Wilcoxson

followed the commands.           Id.      Mr. Wilcoxson was placed in custody.      Id. ¶ 20.

He was wearing a holster on his right hip, but it was empty.            Id.

        Officers conducted a search of Mr. Wilcoxson incident to his arrest.              Id.

Officers located $2,370.00 in U.S. Currency in Mr. Wilcoxson’s right front pocket.

Id. ¶ 21.      In Mr. Wilcoxson’s left front pocket, officers located one bag containing

17.1 grams of suspected marijuana and another bag containing 8.9 grams of

suspected marijuana. Id.

        Officers proceeded to search Mr. Wilcoxson’s vehicle, which smelled of

marijuana.       Id. ¶ 22.      In the trunk, officers located a black shoe box, which

contained 81.6 grams of suspected MDMA, as well as another $5,050.00 in U.S.

Currency.       Id. The seized currency totaled $7,424.25.          Id. Upon further search

of the vehicle, officers discovered that the dashboard came apart, and only had a few

screws holding it together.            Id. ¶ 23.   This is common among individuals who

conceal narcotics and currency in their vehicle.            Id.     Due to Mr. Wilcoxson’s

empty holster, officers believed that the firearm was thrown from his vehicle during

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the vehicle chase.    Id. ¶ 24.     A trooper located the firearm, a Kodiak Semi-

Automatic, .45 caliber pistol in the center median at exit 24.        Id.    Officers

transported Mr. Wilcoxson to the HCSO Detention Center and charged him with,

among other things, fleeing to elude arrest, trafficking in MDMA, other drug

offenses, and possession of a firearm by a felon.   Id. ¶ 25.

      Officers subsequently obtained a search warrant to search Mr. Wilcoxson’s

residence at 296 Livingston Street, Apartment D, Asheville, NC 28801.        Id. ¶ 26.

During the execution of the search warrant at the residence, officers located 51.7

grams of suspected methamphetamine (found in a black sentry safe); 20.8 grams of

suspected MDMA; 5.4 grams of suspected marijuana; 6 rounds of .38 caliber

ammunition; a .357 EAA Revolver, Model .38 Special; and digital scales.      Id. ¶ 27.

Mr. Wilcoxson’s brother Darryl Lee Whitmore was inside the residence.        Id. ¶ 28.

Mr. Whitmore was taken into custody and agreed to talk with detectives after

receiving Miranda warnings.       Id.

      Mr. Whitmore indicated that “King Gino” or “Gino” gave him the revolver

and MDMA, but he claimed not to know “Gino’s” real name.                    Id. ¶ 29.

Mr. Whitmore stated that he knew what “Gino” was doing and confirmed that he

made “hand-to-hand transactions on “Gino’s” behalf.         Id.   Mr. Whitmore was

transported to the Buncombe County Detention Center and charged with various

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drug offenses, including trafficking in methamphetamine.     Id. ¶ 30.   Additionally,

Detective Beddow obtained warrants for Mr. Wilcoxson for various drug offenses,

including trafficking in methamphetamine and possession of drug paraphernalia.

Id. ¶ 31.

                        PROCEDURAL BACKGROUND

       On August 10, 2020, the Government filed a Verified Complaint for

Forfeiture In Rem, alleging that the Defendant Currency seized from Mr. Wilcoxson

on or about March 3, 2020, is subject to civil forfeiture under 21 U.S.C. § 881(a)(6).

ECF No. 1.    On August 12, 2020, the Clerk issued a Warrant of Arrest In Rem for

the Defendant Currency. ECF No. 2.

       After the Government filed its Complaint, in accordance with Rule G(4)(b) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions (“Supplemental Rules”), the Government provided direct notice of this

action to known potential claimants.     Specifically, on August 17, 2020, and on

August 31, 2020, the Government mailed notice and a copy of the Complaint to Mr.

Wilcoxson at his addresses of record.         See ECF No. 7-1.       Additionally, in

accordance with Supplemental Rule G(4)(a), the Government provided notice by

publication as to all persons with potential claims to the Defendant Currency by

publishing notice via www.forfeiture.gov from August 25, 2020, until September

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23, 2020. ECF No. 3.

      During the pendency of this action, no individual or entity has made a timely

claim to the Defendant Currency. On December 8, 2020, pursuant to Fed. R. Civ.

P. 55(a), the Government filed a motion for entry of default, ECF No. 4, and that

same day the Clerk entered default.     See ECF No. 5.

                                 III.   ARGUMENT

      Pursuant to the Civil Asset Forfeiture Reform Act of 2000 (“CAFRA”), the

Government has the initial burden of establishing by a preponderance of the

evidence that the defendant property is subject to forfeiture.   18 U.S.C. § 983(c)(1).

A complaint must “state sufficiently detailed facts to support a reasonable belief that

the government will be able to meet its burden of proof at trial.” Fed. R. Civ. P.

Supp. R. G(2)(f).   The Government may seek forfeiture of currency if it was used,

or intended to be used in exchange for a controlled substance, or represents proceeds

of trafficking in controlled substances, or was used or intended to be used to facilitate

a violation of the Controlled Substances Act, 21 U.S.C. § 801 et seq. See 21 U.S.C.

§ 881(a)(6).

      Based on the allegations of the Government’s Verified Complaint—which are

deemed admitted as true—the Court finds that the Government has satisfied its

burden of showing that the Defendant Currency is subject to forfeiture under

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21 U.S.C. § 881(a)(6).     Additionally, the Government has taken reasonable steps to

provide notice to known potential claimants, and the Government has otherwise

complied with the notice requirements set forth in Supplemental Rule G(4). No

individual or entity has timely filed a claim to the Defendant Currency.            After

careful review, the Court finds that the Government has established that default

judgment is appropriate.

                                  IV.    JUDGMENT

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the

Government’s Motion for Default Judgment of Forfeiture is hereby GRANTED and

Judgment of Forfeiture is ENTERED in favor of the United States against all

persons and entities with respect to the following property:

       1)     $7,424.25 IN U.S. CURRENCY seized from Carvenus Cruz
              Wilcoxson on or about March 3, 2020, in Haywood County,
              North Carolina

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any

right, title, and interest of all persons to the Defendant Currency is hereby forfeited

to the United States, and no other right, title, or interest shall exist therein.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

United States Marshal is hereby directed to dispose of the forfeited Defendant

Currency as provided by law.

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Signed: January 9, 2021




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